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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11

PROMISE HEALTHCARE GROUP, LLC, et al.1                            Case No. 18-12491 (CTG)

                      Debtors.                                    (Jointly Administered)
                                                                                 3114
                                                                  Re: Docket No. _____

            ORDER GRANTING SIXTH MOTION OF LIQUIDATING TRUSTEE
           FOR AN ORDER UNDER BANKRUPTCY CODE SECTION 105(a) AND
         BANKRUPTCY RULE 9006 EXTENDING CLAIMS OBJECTION BAR DATE

           Upon the motion (the “Motion”)2 of the Liquidating Trustee for entry of an order (this

“Order”), extending the Claims Objection Bar Date, all as set forth in the Motion; and the Court

having found that it has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334; and the

Court having found that this a core proceeding under 28 U.S.C. § 157(b); and the Court having

found that venue is proper under 28 U.S.C. §§ 1408 and 1409; and the Court having found that

the relief requested is in the best interests of the Debtors’ estates, their creditors, and other parties




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 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2, Inc. (1913),
Promise Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition Corp.
(6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages
Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP
Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise
Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc.
(7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise
Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of
Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise
Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls,
Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of
Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing
Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), Success
Healthcare 1, LLC (6535), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH
Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation
Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology Development
and Services Company, Inc. (7766). The mailing address for the Debtors, solely for purposes of notices and
communications, is c/o FTI Consulting, Inc., 50 California Street, Suite 1900, San Francisco, CA 94111.
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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.


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in interest; and the Court having found that the Liquidating Trustee provided appropriate notice

of the Motion and the opportunity for a hearing under the circumstances; and the Court having

reviewed the Motion, and having heard the statements in support of the relief requested therein at

a hearing, if any, before the Court (the “Hearing”); and the Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted.

        2.       The Claims Objection Bar Date for all claims shall be and hereby is extended

through and including April 1, 2024.

        3.       The relief granted herein is without prejudice to the Liquidating Trustee’s right to

seek further extensions of the Claims Objection Bar Date.

        4.       The Liquidating Trustee and his authorized representatives are authorized and

empowered to take any and all actions necessary to implement the terms of this Order.

        5.       The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.




    Dated: October 23rd, 2023                   CRAIG T. GOLDBLATT
    Wilmington, Delaware                        UNITED STATES BANKRUPTCY JUDGE




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